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           ORDERED in the Southern District of Florida on December 4, 2024.




                                                                      Laurel M. Isicoff, Judge
                                                                      United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov

           In re:                                                      Chapter 11

           SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

                 Debtors.                                              (Jointly Administered)
           _______________________________/

                ORDER GRANTING DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER (I)
               AUTHORIZING THE DEBTORS TO PREPARE AND SUBMIT A SUPPLEMENT TO
               THE CREDITORS MATRIX IN DIFFERENT FORMAT AND GRANTING RELATED
                                      RELIEF [ECF NO. 84]

                    THIS MATTER came before the Court on the hearing for the Debtors’ Motion Seeking

           Entry of an Order (I) Authorizing the Debtors to Prepare and Submit a Supplement to the

           1
             The Debtorss are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtorss is 1401 NW 25th Street, Miami, FL 33142.
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Creditors Matrix in Different Format and Granting Related Relief (the “Motion”) [ECF No. 84].

The Court, having reviewed the Motion, and pleadings in this case and being fully advised on the

premises, it is hereby,

       ORDERED, as follows:

       1.      The Motion is hereby GRANTED, in part.

       2.      There will be a consolidated list of its creditors (the “Master Service List”).

       3.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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Submitted by:
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[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days
of entry of this Order]




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